 

UNITED STATES DISTRICT COURT

FoR THE WESTERN DISTRICT oF TENNESSE
WESTERN DIVIsIoN 55 JUN 20 PH " 27
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UNITED sTATEs oF AMERICA cta-at an gm CT.

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upon the relation and

for the use of the
TENNESSEE VALLEY AUTHORITY
Plaintiff

05 2202 api

v. Civil Action No.

TREE-REMOVAL RIGHTS WITH
RESPECT TO LAND IN FAYETI`E
COUNTY, TENNESSEE, WITH
RESPECT ONLY TO AN
UNDIVIDED 1/3 INTEREST

ELLIE KENDALL-TIPTON
Defendants

 

ORDER OF POSSESSION

Pursuant to 40 U.S.C. § 258a (2000), Which authorizes the Court
“to give the Govemment immediate possession of the [condemned] property”
(United States v. Miller, 317 U.S. 369, 381, 63 S.Ct. 276, 87 L.Ed. 336 (1943)), it
is hereby Ordered that the Tennessee Valley Authority, as agent of the United
States of Arnerica, be put into immediate possession of the property described in
the Declaration of Taking filed in this action to the extent necessary to permit the
Tennessee Valley Authority to carry on any of its operations described in the
pleadings filed herein, and that the Defendant in such action surrender possession

of the said property to the Tennessee Valley Authority accordingly.

This 1 2 day oiC£/M ,2005.

   
 
     

nited States District Judge

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UNITED STATES DISTRlCT OURT- WESTERNDISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02202 Was distributed by faX, mail, or direct printing on
June 21, 2005 to the parties listed.

 

 

Philip J Pfeifer

TENNESSEE VALLEY AUTHORITY
400 W. Summit Hill Dr.

KnoX\/ille7 TN 37902--140

EdWin W. Small

TENNESSEE VALLEY AUTHORITY
400 W. Summit Hill Dr.

KnoX\/ille7 TN 37902--140

Honorable Bernice Donald
US DISTRICT COURT

